          Case 2:20-cv-01438-JHS Document 46 Filed 12/02/21 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 MM and AM, minor plaintiffs, by their mother
 DANIELLE MULLIN,
                                                               CIVIL ACTION
                         Plaintiffs,                           NO. 20-1438

        v.

 RELIASTAR LIFE INSURANCE
 COMPANY,

                         Defendant.



     OPINION PURSUANT TO FEDERAL RULE TO CIVIL PROCEDURE 52(a)(1)

I.   INTRODUCTION

     This lawsuit arises from a life insurance policy purchased by Dennis H. Mullin, Jr. (“Mr.

Mullin” or “Insured”) from ReliaStar on June 5, 2009. (Ex. 1.) Dennis Mullin died on September

25, 2019. Plaintiffs in this case are Danielle Mullin and her two minor children, Max and Aiden.

Defendant is ReliaStar Life Insurance Company (“ReliaStar”). In Count I of the Amended

Complaint, Plaintiffs sought a declaratory judgment that, before his death, Dennis Mullin timely

paid all premiums due to keep the policy in force and that the Court should order ReliaStar to make

payment of the death benefit to minor Plaintiffs Max and Aiden, the named beneficiaries, as set

forth in the policy. (See Doc. No. 9.)

     The parties stipulated to relevant evidence and requested an advisory jury to decide whether

an insurance premium (the “Check”) was timely paid on or before July 11, 2019. If not, the policy




                                                1
            Case 2:20-cv-01438-JHS Document 46 Filed 12/02/21 Page 2 of 3




would lapse. The advisory jury decided that Plaintiffs’ did not prove by preponderance of

the evidence that ReliaStar received the Check on or before July 11, 2019. (Doc. No. 45.)1

II.    FINDINGS OF FACT

The parties stipulated to the following facts, which the Court specifically adopts here.

      1. ReliaStar Life Insurance Company issued life insurance policy no. AD20167264 on June

         5, 2009 (referred to as the “Policy”). Dennis H. Mullin, Jr. was the Policy’s sole owner and

         insured (Mr. Mullin is referred to as the “Insured”). (See Ex. 1.)

      2. The Policy defines “Owner” as “the person named in the application who may exercise all

         ownership rights granted under this Policy during the lifetime of the Insured. The word

         ‘you’ in this Policy refers to the Owner.” The Insured was designated as the “owner” in the

         Policy’s application. (Id.)

      3. The Policy’s owner was required to submit timely premium payments to ReliaStar to

         maintain the Policy’s coverage. Here, the required quarterly premium payment was

         $116.60. As set forth on page 4 of the Policy, “[i]n order for a premium to be effective it

         must be received at the Administrative Office.” (Id.)

      4. The Policy includes a “Grace Period” provision that states: “[a]fter the initial premium,

         payments must be made by the 31st day after the due date, otherwise this Policy will end.

         The Policy will be in force during these 31 days of grace.” (Id.)

      5. On February 1, 2012, the Insured changed the Policy’s beneficiary from Danielle Mullin

         to Max Mullin and Aiden Mullin, his minor children.




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      Counts 2 of the Complaint alleging bad faith was withdrawn by Plaintiffs.
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         Case 2:20-cv-01438-JHS Document 46 Filed 12/02/21 Page 3 of 3




   6. The Insured was to pay a quarterly premium of $116.60 by June 5, 2019 (the Policy’s

       anniversary date). He failed to do so. (See Ex. 4.)

   7. On June 6, 2019, ReliaStar sent the Insured a letter notifying him that the Policy was in

       danger of lapsing because he had failed to submit the premium payment. The letter further

       notified the Insured that the Policy’s Grace Period would end on July 11, 2019, and that

       the required payment must be received by ReliaStar by that day or else the Policy would

       lapse. (Id.)

   8. The Court finds, based on the verdict of the advisory jury, that ReliaStar did not receive the

       Check on or before July 11, 2019 and therefore ReliaStar properly terminated the life

       insurance policy. (See Doc. No. 45.)


III. CONCLUSIONS OF LAW

     The life insurance policy issued to Dennis Mullin by ReliaStar in 2009 was a valid contract

and was not breached by Defendant ReliaStar. Since ReliaStar did not receive the premium

payment of $116.60 by July 11, 2019, the policy was rightfully terminated and Plaintiffs are not

entitled to receive the death benefit. An appropriate judgment will be entered.




                                                     BY THE COURT:



                                                     __________________________
                                                        /s/ Joel H. Slomsky
                                                     JOEL H. SLOMSKY, J.




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